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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA

Plaintiff,

Criminal No. CE ~£(§/Q§ Ml

(60-Day Continuance)

§§ \ § F)`

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
he continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the June
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, JulV 22, 2005, with trial to take place on
the August, 2005, rotation calendar with the time excluded under
the Speedy Trial Act through August 12, 2005. Agreed in open

court at report date this 27th day of May, 2005.

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SO ORDERED this 27th day Of May, 2005.

 

UN TED STATES DISTRICT JUDGE

 

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OVY C. A<vw~»

JO PHIPPS MCCALLA
Assistant United States Attorney

 

 

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Counsel for Defendant(s)

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20103 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

